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1    ERIN J. RADEKIN
     Attorney at Law - SBN 214964
2    428 J Street, Suite 350
     Sacramento, California 95814
3    Telephone: (916) 446-3331
     Facsimile: (916) 447-2988
4
     Attorney for Defendant
5    ANGELA SHAVLOVSKY

6

7                            IN THE UNITED STATES DISTRICT COURT

8                           FOR THE EASTERN DISTRICT OF CALIFORNIA

9

10   UNITED STATES OF AMERICA,               )    2:11-CR-00427 TLN
                                             )
11                              Plaintiff,   )    STIPULATION AND ORDER
                                             )    TO CONTINUE STATUS CONFERENCE
12   v.                                      )
                                             )
13                                           )
     ANGELA SHAVLOVSKY,                      )
14                                           )
                             Defendant.      )
15   __________________________________      )

16
                                         STIPULATION
17
           Plaintiff, United States of America, by and through its counsel,
18
     Assistant United States Attorney Jill Thomas, and defendant, Angela
19
     Shavlovsky, by and through her counsel, Erin J. Radekin, agree and stipulate
20
     to vacate the date set for status conference, March 12, 2015 at 9:30 a.m., in
21
     the above-captioned matter, and to continue the status conference to May 21,
22
     2015 at 9:30 a.m. in the courtroom of the Honorable Troy L. Nunley.
23
           The reason for this request is that additional time is needed by Ms.
24
     Radekin to complete review of discovery, for investigation, and for other
25
     defense preparation.    Ms. Radekin is still engaged in review of the
26
     voluminous discovery and the trial transcripts in a related matter
27
     (approximately 70,000 pages total).     In addition, there is investigation and
28



                                     Stipulation and Order - 1
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1    other defense preparation she must complete.     The Court is advised that Ms.

2    Thomas concurs with this request and has authorized Ms. Radekin to sign this

3    stipulation on her behalf.

4          The parties further agree and stipulate that the time period from the

5    filing of this stipulation until May 21, 2015 should be excluded in computing

6    time for commencement of trial under the Speedy Trial Act, based upon the

7    interest of justice under 18 U.S.C. § 3161(h)(7)(B)(iv), and Local Code T4,

8    to allow reasonable time necessary for effective defense preparation.     It is

9    further agreed and stipulated that the ends of justice served in granting the

10   request outweigh the best interests of the public and the defendant in a

11   speedy trial.

12         Accordingly, the parties respectfully request the Court adopt this

13   proposed stipulation.

14   IT IS SO STIPULATED

15   Dated: March 5, 2015                          BENJAMIN WAGNER
                                                   United States Attorney
16
                                          By:       /s/ Jill Thomas
17                                                 JILL THOMAS
                                                   Assistant United States Attorney
18

19   Dated: March 5, 2015                           /s/ Erin J. Radekin
                                                   ERIN J. RADEKIN
20                                                 Attorney for Defendant
                                                   ANGELA SHAVLOVKSY
21

22
                                           ORDER
23
           For the reasons set forth in the accompanying stipulation and
24
     declaration of counsel, the status conference date of March 12, 2015 at 9:30
25
     a.m. is VACATED and the above-captioned matter is set for status conference
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     on May 21, 2015 at 9:30 a.m.   The Court finds excludable time in this matter
27
     through May 21, 2015 under 18 U.S.C. § 3161(h)(7)(B)(iv) and Local Code T4,
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                                    Stipulation and Order - 2
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1    to allow reasonable time necessary for effective defense preparation.    For

2    the reasons stipulated by the parties, the Court finds that the interest of

3    justice served by granting the request outweigh the best interests of the

4    public and the defendant in a speedy trial. 18 U.S.C. §§ 3161(h)(7)(A),

5    (h)(7)(B)(iv).

6          IT IS SO ORDERED.

7    Dated: March 5, 2015

8                                              Troy L. Nunley
                                               United States District Judge
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                                  Stipulation and Order - 3
